















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 11th
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Eastland,
Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion

&nbsp;

Mark
Carl Davis

Appellant

Vs.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Nos. 11-01-00180-CR &amp; 11-01-00181-CR B Appeals from
Palo Pinto County

State
of Texas

Appellee

&nbsp;

These are appeals from judgments revoking appellant=s community
supervision.&nbsp; Appellant&nbsp; was originally convicted, upon his pleas of
guilty, of two offenses of felony driving while intoxicated.&nbsp; Plea bargain agreements were reached.&nbsp; The trial court assessed appellant=s punishment in
each case at confinement for 10 years and a $1,500 fine.&nbsp; The confinement portion of each sentence was
suspended, and appellant was placed on community supervision for 10 years.&nbsp; At the hearing on the State=s amended
motions to revoke, appellant entered pleas of true to each of the
allegations.&nbsp; The trial court found that
appellant had violated the terms and conditions of his community supervision
and revoked his community supervision.&nbsp;
Pursuant to the plea bargain agreements, the trial court imposed a
sentence of confinement for 7 years in each case.&nbsp; We affirm.

Appellant=s court-appointed counsel has filed a
brief in each case in which he states that, after examining the entire record
and the applicable law, he has concluded that the appeal is without merit.&nbsp; In each case, counsel has furnished
appellant with a copy of the brief and has advised appellant of his right to
review the record and file a pro se brief.&nbsp;
Pro se briefs have not been filed.&nbsp;
Counsel has complied with the procedures outlined in Anders v.
California, 386 U.S. 738 (1967); Stafford v. State, 813 S.W.2d 503
(Tex.Cr.App.1991); High v. State, 573 S.W.2d 807 (Tex.Cr.App.1978); Currie v.
State, 516 S.W.2d 684 (Tex.Cr.App.1974); and Gainous v. State, 436 S.W.2d 137
(Tex.Cr.App.1969).








Following the procedures outlined in Anders, we have
independently reviewed the record.&nbsp; We
note that, in a community supervision revocation, a plea of true alone is
sufficient to support the trial court=s determination to revoke.&nbsp; Moses v. State, 590 S.W.2d 469 (Tex.Cr.App.1979);
Cole v. State, 578 S.W.2d 127 (Tex.Cr.App.1979).&nbsp;&nbsp;&nbsp; We agree that the appeals are without merit.

The judgments of the trial court are affirmed.

&nbsp;

PER CURIAM

&nbsp;

January
10, 2002

Do
not publish.&nbsp; See TEX.R.APP.P. 47.3(b).

Panel consists
of: Arnot, C.J., and

Wright, J., and
McCall, J.





